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MARCEREAU & NAZIF

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ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES
Adversary Case No.: 8:16-ap-01114-ES
Kent W. Easter, dba Kent Easter

Consulting, dba Law Offices of Kent W. | NOTICE OF ERRATA RE:
PLAINTIFF’S NOTICE OF MOTION

Easter FOR SUMMARY JUDGMENT
Date: November 10, 2016
Time: 10:30 a.m.

Kelli Peters, Bill Peters and Sydnie Peters, | Department: 5A
Plaintiffs,

VS.

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W.

Easter,
Defendants.

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PLAINTIFF’S NOTICE OF ERRATA RE: NOTICE OF MOTION FOR SUMMARY JUDGMENT

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TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

Plaintiff hereby gives notice of errata to the Court and all parties regarding page one of
Plaintiff's Notice of Motion and Motion for Summary Judgment, filed on October 5, 2016, Docket
No.: 20. Plaintiff’s Notice included an error regarding the hearing date and department. The hearing
date was incorrectly stated as November 10, 2004. The correct date is November 10, 2016. The
department was incorrectly identified as 2. The correct department is “SA”. All parties were
previously given notice of the correct date, time and department on September 23, 2016, Docket No.
14.

Dated: October 6, 2016 MARCEREAU & NAZIF

/sf Robert H. Marcereau
Robert H. Marcereau
Attorneys for Plaintiffs

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PLAINTIFF’S NOTICE OF ERRATA RE: NOTICE OF MOTION FOR SUMMARY JUDGMENT

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’ PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address js:
26000 Towne Centre Drive, Suite 230, Foothill Ranch, California 92610

A true and correct copy of the foregoing document entitled (specify): NOTICE OF ERRATA RE: PLAINTIFF’S NOTICE
OF MOTION FOR SUMMARY JUDGMENT will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
40/06/16, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below-

[] Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 10/6/16, | served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no iater than 24 hours after the document is filed.

Debtor: Kent Wycliffe Easter, 153 Baywood Dr., Newport Beach, CA 92660

Trustee: Weneta M.A. Kosmala, P.O. Box 16279, irvine, CA 92623,

Judge: Hon. Erithe A. Smith, U.S. Bankruptcy Court Central District, 411 W. Fourth St, Suite 5040 / Cirm 54
Santa Ana, CA 92701-4593

[| Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 10/06/16 | served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personai
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed,

CD Service informatiorrgéntinued on attached pagl
a f arid correct.

10/6/2016 Nicole Lipowski
Date Printed Name

This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012 F 9013-3.1.PROOF.SERVICE
